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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 JEANETTE VENTRONE, et al.,                       )
                                                  )
             Plaintiff(s),                        )
                                                  )
        v.                                        )        No. 4:22-CV-00513-SPM
                                                  )
 WEBSTER UNIVERSITY,                              )
                                                  )
             Defendant(s).                        )
                                                  )

                                            ORDER

       Pursuant to Local Rule 2.08, a request has been received for random reassignment of this

case to a District Judge.

      IT IS HEREBY ORDERED that the above styled cause is randomly reassigned from

Magistrate Judge Shirley Padmore Mensah to District Judge Rodney W. Sippel.

May 11, 2022                                   Gregory J. Linhares                   /
Date                                           Clerk of Court

                                         By: /s/ Katie Spurgeon               /
                                             KATIE SPURGEON
                                             Deputy Clerk


In all future documents filed with the Court, please use the following case number:
4:22-CV-00513-RWS
